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         DEFENDANTS’ JOINT EXHIBIT LIST IN CASE NO. 1:15-cv-2507-JLK

                                   Schwark v. Fitting and Muldoon


EX NO.         DESCRIPTION              STIP. DATE DATE          OBJECTION   COURT USE
                                              ADM. REJ.                        ONLY

  1      Plaintiff’s 2011 Tax Return

  2      Park County Jail Medication
         Sheet – November 2013

  3      No exhibit

  4      Schwark drawing

  5      Park County Jail Medication
         Sheet – February/March 2014

  6      Cell phone screen shots

  7      Medical record from Dr.
         Singer [Schwark 1193]

  8      Medical record from Dr.
         Singer [Schwark 974]

  9      Medical record from Dr.
         Singer [Schwark 970-971]

  10     Medical record from LabCorp
         to Dr. Singer [Schwark 977-
         978]

  11     Medical record from Dr.
         Singer

  12     Medical record from Dr.
         Singer

  13     Medical record from Doctor’s
         Data

  14     Medical record from LabCorp
         [Schwark 456]

  15     Medical record from Dr.
         Singer



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EX NO.         DESCRIPTION              STIP. DATE DATE   OBJECTION   COURT USE
                                              ADM. REJ.                 ONLY

  16     Prescription record from Dr.
         Singer [Schwark 952]

  17     Medical record from Dr.
         Singer

  18     Ledger car

  19     Prescription record from Dr.
         Singer

  20     Letter from Dr. Singer
         [Schwark 87]

  21     Note by Cathlene Pearce, RN,
         11.14.14 [Schwark 93]

  22     Muldoon incorrectly had this
         listed as #21
         Prescription information for
         Alprazolam [Schwark 58]

  23     Curriculum Vitae of Dr.
         Fitting

  24     No Exhibit

  25     Medical record from Denver
         Health [Schwark 95-96]

  26     UA Dipstick Results
         [Schwark 63]

  27     Dr. Fitting prescription
         [Schwark 91]

  28     Emails between Canterbury
         and Parker [Schwark 89, 98-
         99]

  29     No Exhibit

  30     Parker medical record
         [Schwark.Park 38-42]




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EX NO.           DESCRIPTION             STIP. DATE DATE   OBJECTION   COURT USE
                                               ADM. REJ.                 ONLY

  31       No Exhibit

  32       Mittimus [Schwark.Park 309]

  33       No Exhibit
       1   Jail policy and procedures
 34
           [Schwark.Park 133-171]

  35       Email between Parker and
           Canterbury
           [Schwark.Park00034]

  36       Photo of prescription meds
           [Schwark.Park000003-4]

  37       Records from Denver Health
           [Schwark.Park000020–21]

  38       Medical Questionnaire
           [Schwark.Park000023-24]

  39       Inmate View
           [Schwark.Park000025]

  40       Dr. Parker’s Orders
           [Schwark.Park000038–42;
           46-47]

  41       Emails between Parker and
           Canterbury
           [Schwark.Park000043–45]

  42       Park County Medication
           Sheet March 2014
           [Schwark.Park000048–49]

  43       Letter from Muldoon to
           Denver Health
           [Schwark.Park000050]




 1 All exhibits after exhibit number 34 were not previously marked during a
 deposition.


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EX NO.         DESCRIPTION              STIP. DATE DATE   OBJECTION   COURT USE
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  44     Records from Denver Health
         [Schwark.Park000051–88;
         92-94]

  45     Inmate View
         [Schwark.Park000098–
         000110]

  46     Minute Order
         [Schwark.Park000120]

  47     Park County Policies and
         Procedures
         [Schwark.Park000135–171;
         157; 159; 167-168]

  48     Mental Status Assessment
         [Schwark.Park000331–32]

  49     Schwark timeline at jail
         [Schwark.Park000112]

  50     Inmate Handbook
         [Schwark.Park 000767–798]

  51     Schematic of jail
         [Schwark.Park000802]

  52     Memo re: use of
         benzodiazepines
         [Schwark.Park000805]

  53     Inmate Views and floor notes
         [Schwark.Park000803–804;
         806–815]

  54     Any document needed for
         impeachment/rebuttal
         purposes



  55     Curriculum Vitae of
         Katherine Fitting, MD




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EX NO.         DESCRIPTION              STIP. DATE DATE   OBJECTION   COURT USE
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  56     Curriculum Vitae of Timothy
         Moser, MD

  57     Expert Report of Timothy
         Moser, MD

  58     Curriculum Vitae of Jonathan
         Ritvo, MD

  59     Expert Report of Jonathan
         Ritvo, MD

  60     Curriculum Vitae of Susan
         Canterbury, RN

  61     Curriculum Vitae of Cynthia
         Parker, PsyD

  62     Curriculum Vitae of Cathleen
         Pearce, RN

  63     Curriculum Vitae of Jonathan
         W. Singer, DO

  64     Curriculum Vitae of Jeri
         Swann, RN

  65     PDMP Report for Kyle
         Schwark [Schwark 1199-
         1208]

  66     CHPG High Country Health
         Records for Kyle Schwark

  67     City Market Pharmacy
         Records for Kyle Schwark
         [Schwark 915-924]

  68     HealthFirst/Dr. Singer
         Records for Kyle Schwark
         [Schwark 428-470, 833-880,
         926-1028, 1182-1198]

  69     Andrew E. Leifer, MD, PC
         Records for Kyle Schwark




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EX NO.         DESCRIPTION                 STIP. DATE DATE   OBJECTION   COURT USE
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  70     MindSprings Health Records
         for Kyle Schwark [Schwark
         1224-1430]

  71     North Range Behavioral
         Health (or any subsequent
         name) Records for Kyle
         Schwark

  72     St. Anthony Summit Medical
         Center Records for Kyle
         Schwark [Schwark 831-832,
         1066-1139, 1431-1436]

  73     Summit County Care Clinic
         Records for Kyle Schwark
         [Schwark 1140-1152, 1209-
         1223]

  74     Park County Sheriff’s Office
         employee roster for Nov 2013
         [Schwark.Park 799]

  75     Park County Sheriff’s Shift
         Roster for Oct-Dec 2013
         [Schwark.Park 800-801]

  76     Park County Jail Records
         of Kyle Schwark,
         [Schwark.Park 1-132]

  77     Plaintiff’s Responses (dated
         09.09.16(to Dr. Fitting’s First
         Interrogatories and Requests
         for Production

  78     Plaintiff’s Supplemental
         Responses (dated 10.04.16) to
         Dr. Fitting’s First
         Interrogatories and Requests
         for Production




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EX NO.         DESCRIPTION                STIP. DATE DATE   OBJECTION   COURT USE
                                                ADM. REJ.                 ONLY

  79     Plaintiff’s Responses (dated
         11.02.16) to Dr. Fitting’s
         Second Requests for
         Production

  80     Demonstrative Exhibit –
         Anatomical Diagrams,
         Illustrations and Models

  81     Demonstrative Exhibit –
         Timeline of events occurring
         in this case

  82     Enlargement, transparency or
         print of any exhibit listed by
         the parties

  83     Demonstrative aids such as
         sketches, charts, diagrams,
         blowups, anatomical models,
         transparencies, slides,
         PowerPoint presentations,
         other computer or software
         aided presentations, or other
         exhibits to illustrate the
         testimony of any witness




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